 Case 3-23-10727-cjf    Doc 31-1 Filed 08/08/23 Entered 08/08/23 10:06:11    Desc
                            Proof of Service Page 1 of 2




                       UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF WISCONSIN

______________________________________________________________________________

IN RE:

JIMMY M. CHAMPAGNE and                             Case No. 23-10727
ANGELICA CHAMPAGNE, a/k/a
MARIA ANGELICA GONZALEZ,

                        Debtors.
______________________________________________________________________________

                          AFFIDAVIT OF MAILING
______________________________________________________________________________

       JILENE R. DAWSON, being sworn, states that on August 8, 2023, she
mailed properly enclosed in a postpaid envelope a copy of Notice of Motion and
Motion to Approve Settlement with Debtors, the originals of which have been
electronically filed herein, addressed to each of the following parties at their
respective addresses unless sent electronically during the filing of this
document:

To:      U.S. Trustee's Office              Atty. Michelle A. Angell
         780 Regent Street, Ste. #304       (via electronic filing only)
         Madison, WI 53715
         (via electronic filing only)       All parties on attached creditor list.

                                            RUDER WARE

                                            /s/ Jilene R. Dawson
                                            __________________________________
                                            Jilene R. Dawson, Legal Assistant
                                            402 Graham Avenue
                                            P.O. Box 187
                                            Eau Claire, WI 54702
Subscribed and sworn to before
me this 8th day of August, 2023.
/s/ Morgan H. Sweeney
________________________________
Morgan H. Sweeney, Notary Public
My commission expires 1/5/2024



4856-8926-2710, v. 1
                   Case 3-23-10727-cjf            Doc 31-1 Filed 08/08/23 Entered 08/08/23 10:06:11 Desc
 ■abel Matrix for local noticing                      Proof
                                                     ARS      of Service
                                                         National Services, Inc.Page 2 of 2 Access Cosimunity Health
 1758-3                                                PO Box 469100                                        PO Box 620993
 lase 3-23-10727-cjf                                   Escondido, OA 92046-9100                             Middleton, WI 53562-0993
 [astern District of Wisconsin mv.viwb.uscour
 ladison
 ■ue Aug 8 09:13:37 CDT 2023
 lichelle A. Angell                                    Capital Management Services IP                       Capital One/Cabela's
 [rekeler Lav, S.C.                                    P.O. Box 120                                         ATTN: Bankruptcy Dept
 ;6 Schroeder Court, Ste 300                           Buffalo, MY 14220-0120                               P.O. Box 30285
 ladison, WI 53711-2503                                                                                     Salt Lake City, DT 84130-0285



 Aigelica Chaii;>agne                                  JiM^ M Charpagne                                     Costco- Citi
 pO Box 652                                            PO Box 652                                           PO Box 9001016
pe Forest, WI 53532-0652                               De Forest, WI 53532-0652                             Louisville, KY 40290-1016




tliscover                                              Discover Bank                                        Estate Information Services/EIS Collect.
p.O. Box 6105                                          Discover Products Inc                                PO Box 1398
(!arol Stream, IL 60197-6105                           PO Box 3025                                          Reynoldsburg, OH 43068-6398
                                                       Mew Albany, OH 43054-3025



Great Midwest Bank                                     Daniel J. Habeck                                     IRS - Centralized Insolvency Operations
 1.5900 West Bluemound Road                            1601 E. Racine Avenue, Ste 200                       P.O. Box 7346
Qrookfield, WI 53005-6065                              P.O. Box 558                                         Philadelphia, PA 19101-7346
                                                       Waukesha, WI 53187-0558



eternal Revenue Service                                Office of the United States Trustee                  Secretary of Treasury
:0isolvency Unit                                       780 Regent Street                                    Treasury Department
?.0. Box 7346                                          Suite 304                                            1500 Pennsylvania Avenue M.W.
Philadelphia, PA 19101-7346                            Madison, WI 53715-2635                               Washington, DC 20220-0001



Securities and Exchange Commission                     Christopher M. Seelen                                U.S. Trustee's Office
175 West Jackson Boulevard                             Ruder Ware, LLSC                                     780 Regent Street, Suite 304
Suite 900                                              402 Graham Avenue                                    Madison, WI 53715-2635
Chicago, IL 60604-2908                                 P.O. Box 187
                                                       Eau Claire, WI 54702-0187


liW Health                                             United States Treasury                               Wisconsin Department of Revenue
R) Box 620993                                          Internal Revenue Service                             Special Procedures Unit
Klddleton, WI 53562-0993                               P.O. Box 7346                                        P.O. Box 8901
                                                       Philadelphia, PA 19101-7346                          Madison, WI 53708-8901



Vfisconsin Department of Revenue                       Wisconsin Dept. of Workforce Developent
^TTM: Bankruptcy Unit, MS 5-144                        Division of Uneoployment Insurance
?0 Box 8901                                            P.O. Box 8914
Madison, WI 53708-8901                                 Madison, WI 53708-8914




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or d\ylicate (d) address.
